AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT                                                                  Jun 10, 2022

                                                                   for the                                                      s/ D. Olszewski
                                                       Eastern District
                                                     __________         of Wisconsin
                                                                 District  of __________

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No.    22       MJ          93
   a USPS Parcel assigned tracking number                                    )
                                                                             )
            EI 135 491 912 US                                                )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
  a USPS Parcel assigned tracking number EI 135 491 912 US addressed to “Matthew Tryon, 1694 S. Carriage Ln #A,
  New Berlin, WI 53151."
located in the       Eastern        District of          Wisconsin            , there is now concealed (identify the
person or describe the property to be seized):
  controlled substance, fruits of crime, or other evidence of conspiracy to and distribution and possession with intent to
 distribute a controlled substance and unlawful use of a communication facility to distribution of a controlled substance.

          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               ’
               ✔ contraband, fruits of crime, or other items illegally possessed;
               ’
                 ’ property designed for use, intended for use, or used in committing a crime;
                 ’ a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        21 U.S.C. §§ 841(a)(1), 846               Conspiracy to and distribution and possession with intent to distribute a controlled
        and 843(b).                               substance and unlawful use of a communication facility to distribution of a
                                                  controlled substance.
          The application is based on these facts:
        Please see attached affidavit, which is hereby incorporated by reference.


           ’ Continued on the attached sheet.
           ✔ Delayed notice of 180 days (give exact ending date if more than 30 days: 12/07/2022
           ’                                                                                                                 ) is   requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                       Applicant’s signature

                                                                                               Mario Lantigua, Inspector, USPIS
                                                                                                       Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
          telephone                                   (specify reliable electronic means).


Date:        6/10/2022
                                                                                                         Judge’s signature

City and state: Milwaukee, Wisconsin                                                        Wiliam E. Duffin, U.S. Magistrate Judge
                                                                     Printed name and title
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         Print                        Save As...                         Attach                                                           Reset
                    AFFIDAVIT IN SUPPORT OF SEARCH WARRANT

              I, Mario Lantigua, having been duly sworn, do hereby depose and state:

                      INTRODUCTION AND AGENT BACKGROUND

       1.       I am a United States Postal Inspector, assigned to the United States Postal

Inspection Service (“USPIS”) Domicile in Milwaukee, Wisconsin. I have been a law enforcement

officer for over five years. From October 2008 to May 2011, I served as a Border Patrol Agent

with the Department of Homeland Security in Laredo, Texas. I served as a Federal Police Officer

with the West Palm Beach Veterans Affairs Medical Center Police Department from May 2011 to

February 2014. I have served as a Postal Inspector with the USPIS since August 2021.

       2.       The USPIS is the primary investigative arm of the United States Postal Service

(“USPS”) and is charged under Title 18, United States Code, 3061 with the enforcement of laws

governing the use and movement of the United States Mail, including the misuse and fraudulent

schemes involving the mail, crimes relating to mail fraud, narcotics trafficking and identity theft

involving the United States Mail.

       3.       In 2015, I graduated from Mount St. Mary’s University with a Bachelor’s degree

in Business Administration.

       4.       I have assisted in numerous drug investigations in my five years of law enforcement

experience and received continual training in that and other fields. Through training, experience,

and discussions with fellow United States Postal Inspectors, I am familiar with various methods

of smuggling and trafficking narcotics and other controlled substances and the proceeds from sale

of such substances. I am also familiar with methods used to evade detection of both the controlled

substances and the proceeds from their sale that are used by drug traffickers. Within the USPIS, a

primary investigative assignment of mine is the Prohibited Mail-Narcotics program, which is




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responsible for protecting the United States Mail from misuse by traffickers and smugglers of illicit

controlled substances. Also, within this program area is an effort to stop the misuse of the United

States Mail by said drug traffickers, by seizing the proceeds of this unlawful activity as the

proceeds are mailed back to the sources of supply.

       5.       During my time as a federal law enforcement, I completed numerous hours of

training on criminal drug use, abuse, and trafficking. I have had both formal training and have

participated in drug investigations. More specifically, my training and experience includes the

following:

             a. I am familiar with the appearance and street names of various drugs, including
                marijuana, heroin, cocaine, cocaine base (unless otherwise noted, all references to
                crack cocaine in this affidavit is cocaine base in the form of crack cocaine), ecstasy,
                and methamphetamine. I am familiar with the methods used by drug dealers to
                package and prepare controlled substances for sale. I know the street values of
                different quantities of the various controlled substances;
             b. I am familiar with the language utilized over the telephone to discuss drug
                trafficking, and know that the language is often limited, guarded, and coded;
             c. I know that drug traffickers often use electronic equipment and wireless and land
                line telephones to conduct drug trafficking operations;
             d. I know that drug traffickers commonly have in their possession, and at their
                residences and other locations where they exercise dominion and control, firearms,
                ammunition, and records or receipts pertaining to such;
             e. I know that drug traffickers often put their telephones in nominee names in order
                to distance themselves from telephones that are utilized to facilitate drug
                trafficking; and
             f. I know that drug traffickers often use drug proceeds to purchase assets such as
                vehicles, property, and jewelry. I also know that drug traffickers often use nominees
                to purchase and/or title these assets in order to avoid scrutiny from law enforcement
                officials.

       6.       Based on my training, experience, and discussions with fellow United State Postal

Inspectors and North Central (formerly Wisconsin) High Intensity Drug Trafficking Area-HIDTA

drug task force officers, I know narcotics, drugs, paraphernalia, controlled substances, and moneys

associated with the sale of narcotics, drugs, and controlled substances are sent through the USPS




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system, and I am familiar with many of the methods used by individuals who attempt to use the

USPS to illegally distribute controlled substances.

                                  PURPOSE OF AFFIDAVIT

       7.      This affidavit is made in support of a Federal Search and Seizure Warrant for the

SUBJECT PARCEL (described below), for items which may constitute the fruits,

instrumentalities, proceeds and evidence of violations of Title 21, United States Code, Sections

841(a)(1) (Distribution and Possession with Intent to Distribute a Controlled Substance), 846

(Conspiracy to Distribution and Possession with Intent to Distribute a Controlled Substance, and

843(b) (Unlawful Use of a Communication Facility (including the mails) to Facilitate the

Distribution of a Controlled Substance). To seize: any controlled substance, and any paraphernalia

associated with the manufacture and distribution of controlled substances including packaging

materials and containers to hold controlled substances; proceeds of drug trafficking activities, such

as United States currency, money orders, bank checks, precious metals, financial instruments; and

drugs or money ledgers, drug distribution or customer lists, drug supplier lists, correspondence,

notations, logs, receipts, journals, books, records, and other documents noting the price, quantity,

and/or times when controlled substances were obtained, transferred, sold, distributed, and/or

concealed.

                                 PARCEL TO BE SEARCHED

       8.      This affidavit is made in support of an application for a Federal Search and Seizure

Warrant for a United States Priority Mail Express piece (SUBJECT PARCEL). The SUBJECT

PARCEL is described as a white in color, envelope, weighing approximately 10.50 ounces gross

total weight, bearing USPS Priority Mail Express tracking number EI 135 491 912 US. The parcel

bears a handwritten label addressed from “Jennifer Whitson, 4203 W. Topeka Dr, Glendale, AZ,




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85300”. The handwritten label is addressed to “Matthew Tryon, 1694 S. Carriage Ln #A, New

Berlin, WI 53151”. The Postage paid was $27.50.

                       INVESTIGATION OF THE SUBJECT PARCEL

       9.      I, and other Postal Inspectors, have identified a trend of drug traffickers mailing

controlled substances into the Eastern District of Wisconsin, from states in the Western United

States, the Caribbean, and along the international border such as: Washington, Oregon, California,

Colorado, Nevada, New Mexico, Texas, Arizona, and the territorial island of Puerto Rico. There,

controlled substances are more easily and readily available, due to certain state laws, and a porous

international border, among other reasons. Inasmuch as individuals who would receive these

controlled substances through the United States Mail are obliged to pay for said controlled

substances, often, the United States Mail is utilized by drug recipients to send payments back to

the drug traffickers on West Coast, along the Southwestern United States and Puerto Rico. As

such, within the Prohibited Mail-Narcotics program area of the USPIS, certain indicators have

been identified in the area of the trafficking of both illegal drugs, and their proceeds, through the

United States Mail.

       10.     I, along with other Milwaukee Postal Inspectors, conduct routine examinations of

Postal Service databases and the outside of parcels traveling in the USPS Priority Mail and Priority

Mail Express to the Eastern District of Wisconsin from states in the Southwest and Western United

States as well as the territory of Puerto Rico.

       11.     On Thursday, June 9, 2022, the SUBJECT PARCEL arrived at the Milwaukee

Processing and Distribution Center in Milwaukee, WI. Internal United States Postal Service

databases revealed that the address of 1694 S. Carriage Ln #A, New Berlin, WI 53151 has received

nine (9) Priority Mail Express parcels and one (1) Priority Mail parcel from Peoria, Arizona and




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Sun City, Arizona between January 2022 and June 2022. Visual inspection of the SUBJECT

PARCEL was indicative of drugs trafficked through the United States Mail from Arizona into the

interior of the United States.

         12.   Examination of the exterior of the envelope revealed the parcel was addressed in a

handwritten manner. I immediately noticed tell-tale signs of Postal based drug trafficking based

on my training, experience and discussions with fellow United States Postal Inspectors. The

envelope was heavily taped, which is a technique drug traffickers use in attempt to evade K9

detection. The postage label confirmed the mailer spent $27.50 at a Post Office in Peoria, Arizona.

The parcel was specifically addressed in the following manner:

   From:        Jennifer Whitson
               4203 W. Topeka Dr
               Glendale, AZ, 85300

   To:         Matthew Tryon
               1694 S. Carriage Ln #A
               New Berlin, WI 53151

         13.   The SUBJECT PARCEL had no phone number listed for either the sender or

receiver, though it is a clearly marked option to do so. An option of a signature required upon

receipt was not used by the sender. These are strong indicators of drug trafficking behavior of the

SUBJECT PARCEL, which I am aware of based on my training, experience and discussion with

fellow United States Postal Inspectors. The fee-free signature delivery confirmation of the

intended recipient was not requested for the SUBJECT PARCEL. The use of “Waiver of

Signature” for Priority Mail Express parcels is a common practice identified by the USPIS in the

trafficking of illegal drugs and currency through the United States Mail as it is used to subvert

law enforcement attempts for a controlled delivery of said parcels.




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                 CLEAR database query and K9 alert to the SUBJECT PARCEL

       14.     United States Postal Service database searched revealed that the address of 1694 S.

Carriage Ln #A, New Berlin, WI 53151 has received six (6) parcels from zip code 85381 and four

(4) parcels from zip code 85351 between January 2022 and June 2022. Thomson-Reuters CLEAR

database confirms Matthew Tryon to reside at that address. Thomason-Reuters CLEAN database

indicated Jennifer Whitson was associated with 4203 W. Topeka Dr, Glendale, AZ back in 2013

but the Whitson’s current Arizona driver license indicates she lives at 8347 W Bluefield Ave,

Peoria, AZ 85382.

       15.     Based upon my training, experience, and discussion with fellow United States

Postal Inspectors regarding the investigation of smuggling, trafficking and distribution of

controlled substances, entering the Eastern District of Wisconsin through the U.S. Mail, I believe

the SUBJECT PARCEL likely contains controlled substances being trafficked through the United

States Mail. I then moved forward with a noninvasive law enforcement technique which would

assist to confirm or refute my suspicions.

       16.     The United States Postal Inspection Service is a member agency of the North

Central (formerly Wisconsin) High Intensity Drug Trafficking Area-HIDTA, a multi-agency

antidrug task force, organized under the Office of the National Drug Control Policy. Waukesha

County Deputy Patrick Maylen, a certified narcotics canine (K-9) handler, was contacted for

assistance in conducting a canine sniff of the air near the SUBJECT PARCEL. On June 9, 2022,

I met with Detective John Kopatich and Deputy Maylen and his canine Jackson. Deputy Maylen

and K9 Jackson are a certified dual purpose Police Narcotic Detection Team, accredited through

the American Police Canine Association (APCA) as well as through Jessiffany Canine Services,

LLC in the detection of heroin, cocaine, marijuana, methamphetamine, MDMA, and other




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controlled substances made with like components. This certification was obtained April 9th, 2022.

Deputy Maylen is a current member of the Wisconsin Canine Handler Association as well as the

American Police Canine Association, as required by the State of Wisconsin Controlled Substances

Board. Deputy Maylen staetd that over one hundred times during training and on the job, K9

Jackson has alerted to the presence of controlled substances he is trained to detect.

       17.     On June 9, 2022, the SUBJECT PARCEL was placed among multiple empty

boxes in a hallway at the Waukesha County Metro Drug Unit building in Waukesha, WI. Deputy

Maylen, Detective Kopatich and I watched as Jackson ceased all movement, sat and stared at the

SUBJECT PARCEL. Deputy Maylen advised me that these actions are consistent with Jackson

detecting the odor of controlled substances.

       18.     Based upon the information as outlined in this affidavit, I respectfully believe that

the SUBJECT PARCEL may contain controlled substances being trafficked through the United

States Mail. Consequently, I respectfully request authorization to open the SUBJECT PARCEL

and search its contents for evidence of controlled substance trafficking. I also request permission

to seize contents of the parcel as evidence, that may constitute contraband, proceeds or fruits of

the crime of violations of Title 21, United States Code, Sections 841(a)(1) (Distribution and

Possession with Intent to Distribute a Controlled Substance), 846 (Conspiracy to Distribution and

Possession with Intent to Distribute a Controlled Substance, and 843(b) (Unlawful Use of a

Communication Facility (including the mails) to Facilitate the Distribution of a Controlled

Substance).

       19.     I have not included in this affidavit each and every fact known to me regarding this

investigation and search warrant application request; the facts included are only those that I,

respectfully, believe may relate to a determination of whether there is probable cause to believe




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that items sought to be seized will be found in the place, or item, to be searched, and whether those

items are evidence of the offenses identified in this affidavit.

       20.     The SUBJECT PARCEL is currently being held at the United States Postal

Inspection Service office in Milwaukee, Wisconsin.




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